    Case: 1:22-cv-01594-BMB Doc #: 81 Filed: 01/26/24 1 of 38. PageID #: 1328




                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO

GRAND,                              )
                                    )
v.                                  )                 Case No. 1:22-cv-1594
                                    )
UNIVERSITY HEIGHTS, et al.          )                 JUDGE BRIDGET M. BRENNAN
____________________________________)

            PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT

       Now comes Plaintiff, Daniel Grand, by and through counsel, and pursuant to Federal Rule

of Civil Procedure 56(c), move this Honorable Court for an order granting partial summary

judgment as to Counts I, II, III, V, VI, VIII, IX, X, XI, XII, and XIV against the City of University

Heights (the “City”) and Counts I, II, III, V, VI, and XII against Michael Brennan. This motion is

supported by the attached Brief in Support and exhibits all of which are attached hereto and fully

incorporated herein.



Dated: January 26, 2024                                       Respectfully submitted,

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      Case: 1:22-cv-01594-BMB Doc #: 81 Filed: 01/26/24 2 of 38. PageID #: 1329




                                                 TABLE OF CONTENTS




I. TABLE OF AUTHORITIES .................................................................................................... ii

II. BRIEF STATEMENT OF ISSUES .......................................................................................... 1

III. PROCEDERAL HISTORY ...................................................................................................... 1

IV. UNDISPUTED MATERIAL FACTS ...................................................................................... 2

V. LEGAL STANDARD ............................................................................................................. 12

VI. THE CITY’S POLICIES AND BRENAN’S ACTIONS VIOLATED GRAND’S FIRST
    AMENDMENT RIGHT TO FREE EXERCISE OF RELIGION AND FREEDOM OF
    ASSEMBLY, COSTITUTE AN UNLAWFUL PRIOR RESTRAINT, AND VIOLATE THE
    OHIO CONSTITUTION (COUNTS I, II, III, AND XII). ..................................................... 12

VII. THE CITY’S POLICIES AND BRENNAN’S ACTIONS VIOLATED GRAND’S
   PROCEDURAL DUE PROCESS RIGHTS (COUNT V)...................................................... 20

VIII.THE CITY’S POLICIES AND BRENNAN’S CONDUCT VIOLATED GRAND’S EQUAL
   PROTECTION RIGHTS (COUNT VI). ................................................................................ 26

IX. THE CITY’S POLICIES VIOLATED RLUIPA (COUNTS VIII, IX, X, AND XI) ............. 28

X. The City violated Ohio Code 149.43(C)(1)(b), by failing to promptly prepare and make
   available for inspection public records that Grand requested (Count XIV). .......................... 29

XI. CONCLUSION ....................................................................................................................... 30

XII. CERTIFICATION OF PAGE LIMITATION ....................................................................... 31

XIII.INDEX                                                         OF                                                    EXHIBITS
     32




                                                                    i
      Case: 1:22-cv-01594-BMB Doc #: 81 Filed: 01/26/24 3 of 38. PageID #: 1330




                                                 I.      TABLE OF AUTHORITIES

Cases

American Cyanamid Company v. F.T.C, 363 F.2d 757 (6th Cir. 1966) ....................................... 26

Anshe Chesed Congregation v. Bruggemeier, 115 N.E. 2d 65 (Ohio App. 1953) ....................... 19

Believers v. Wayne Cnty., 765 F.3d 578 (6th Cir. 2014) .............................................................. 15

Carey v. Piphus, 435 U.S. 247 (1978) .......................................................................................... 21

Chabad Lubavitch of Litchfield Cty., Inc. v. Litchfield Historic Dist. Commission, 768 F.3d 183

   (2d Cir. 2014) ............................................................................................................................ 29

Church of the Lukumi Babalu Aye, Inc. v. City of Hialeah, 508 U.S. 520 (1993) .................. 14, 15

City of Cuyahoga Falls, Ohio v. Buckeye Cmty. Hope Found., 538 U.S. 188 (2003) .................. 26

City of Huber Heights, No. 2000 CV 03932 (slip op.), at 12-13)................................................. 23

Cleveland Bd. of Educ. v. Loudermill 470 U.S. 532 (1985) ......................................................... 21

Coley v. Bagley, 706 F.3d 741 (6th Cir. 2013) ............................................................................. 23

Connick v. Thompson, 563 U.S. 51 (2011) ................................................................................... 12

De Jonge v. Oregon, 299 U.S. 353 (1937) ................................................................................... 13

Deja Vu of Cincinnati, L.L.C. v. Union Township Board of Trustees, 411 F.3d 777 (6th Cir. 2005)

   ................................................................................................................................................... 23

Elrod v. Burns, 427 U.S. 347 (1976) ............................................................................................ 17

Employment Div. v. Smith,494 U.S. 872 (1990) ........................................................................... 13

Fritz v. Charter Twp. of Comstock,592 F.3d 718 (6th Cir.2010) ................................................. 12

Frontera v. City of Columbus Division of Police, 395 F. App'x 191 (6th Cir. 2010) ................... 18

Get Back Up, Inc. v. City of Detroit, 725 F.App'x 389 (6th Cir. 2018) ........................................ 26

Hamby v. Neel, 368 F.3d 549 (6th Cir. 2004) ............................................................................... 21



                                                                          ii
     Case: 1:22-cv-01594-BMB Doc #: 81 Filed: 01/26/24 4 of 38. PageID #: 1331




Hernandez v. New York, 500 U.S. 352 (1991) .............................................................................. 27

Humphrey v. Lane, 728 N.E.2d 1039 (2000) .......................................................................... 18, 19

John Doe v. Univ. of Cincinnati, 872 F.3d 393 (6th Cir. 2017) ................................................... 22

Johnson v. Memphis Light Gas & Water Div., 777 F.3d 838 (6th Cir. 2015) .............................. 12

Johnson v. Morales, 946 F.3d 911 (6th Cir. 2020) ....................................................................... 21

LCS v. Genoa Charter Twp., 858 F.3d 996 (6th Cir. 2017) ......................................................... 28

Monell v. Dep't of Soc. Servs., 436 U.S. 658 (1978) .............................................................. 12, 18

Murphy v. Intern. Union of Operating Engineers, 774 F.2d 114 (6th Cir. 1985) ........................ 23

MX Group, Inc. v. City of Covington, 293 F.3d 326 (6th Cir. 2002) ............................................ 27

Myers v. Affiliated Property Craftsmen, etc.,667 F.2d 817 (9th Cir. 1982) ................................. 23

Nasierowski Bros. v. City of Sterling Heights, 949 F.2d 890 (6th Cir. 1991) .............................. 23

Newsom v. Norris, 888 F.2d 371 (6th Cir. 1989).......................................................................... 17

Paris Adult Theatre I v. Slaton, 413 U.S. 49 (1973) ..................................................................... 15

Pembaur v. City of Cincinnati,475 U.S. 469 (1986) ..................................................................... 12

Phillips v. DeWine, 841 F.3d 405 (6th Cir. 2016) ........................................................................ 17

Prater v. City of Burnside, 289 F.3d 417 (6th Cir.2002) .............................................................. 13

Reed v. Goertz, 143 S. Ct. 955 (2023) .......................................................................................... 19

Robinson v. 12 Lofts Realty, Inc., 610 F.2d 1032 (1979) ............................................................. 27

Sause v. Bauer, 138 S. Ct. 2561 (2018) ........................................................................................ 13

Spurlock v. Fox, 716 F.3d 383 (6th Cir. 2013) ............................................................................. 26

Taghzout v. Gonzales, 219 F. App'x 464 (6th Cir. 2007) ............................................................. 21

Thomas v. Bright, 937 F.3d 721 (6th Cir. 2019) ........................................................................... 15

Tingle v. Arbors at Hilliard, 692 F.3d 523 (6th Cir. 2012) .......................................................... 12



                                                                iii
      Case: 1:22-cv-01594-BMB Doc #: 81 Filed: 01/26/24 5 of 38. PageID #: 1332




Transco Sec., Inc. of Ohio v. Freeman, 639 F.2d 318 (6th Cir. 1981) ......................................... 21

United States v. Bianchi Co., 373 U.S. 709 (1963) ...................................................................... 24

United States v. Guest, 383 U.S. 745 (1966) ................................................................................ 19

Vill. of Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252 (1977) ........................ 26, 28

Vitek v. Jones, 445 U.S. 480 (1980) .............................................................................................. 22

Wesley v. Collins, 791 F.2d 1255 (6th Cir. 1986) ......................................................................... 27

Wilkinson v. United States, 365 U.S. 399 (1961).......................................................................... 13

Young Israel Org. of Cleveland v. Dworkin, 133 N.E. 2d 174 (Ohio App. 1956)........................ 19

Zilich v. Longo, 34 F.3d 359 (6th Cir. 1994) ................................................................................ 12

Zinermon v. Burch , 494 U.S. 113 (1990)..................................................................................... 21

Statutes

42 U.S.C. § 1983 ........................................................................................................................... 12

42 U.S.C. § 2000cc ........................................................................................................... 27, 28, 29

Rules

Fed.R.Civ.P. 56 ............................................................................................................................. 11

Regulations

University Heights Codified Ordinance, Chapter 1250 ................................................................ 28

University Heights Codified Ordinance, Chapter 1274 .......................................................... 28, 29

Constitutional Provisions

Ohio Const. Art. I, § 7................................................................................................................... 18




                                                                      iv
    Case: 1:22-cv-01594-BMB Doc #: 81 Filed: 01/26/24 6 of 38. PageID #: 1333




                            II.      BRIEF STATEMENT OF ISSUES

       Plaintiff Daniel Grand moves for partial summary judgment as to Counts I, II, III, V, VI,

VIII, IX, X, XI, and XII against the City of University Heights (the “City”) and Counts I, II, III,

V, VI, and XII against Michael Brennan. The City and Brennan prohibited Grand from holding a

prayer group in his home without first obtaining a Special Use Permit (“SUP”) from the City’s

Planning Commission (“PC”) and then issued an oral injunction barring Grand from conducting

any activities in his home consistent with those of a house of worship, an overbroad edict that

violated Grand’s First Amendment rights to free exercise and free assembly and Grand’s Ohio

Constitutional right to freedom of worship and imposed an impermissible prior restraint on the

same (Counts I, II, III, and XII). The City and Brennan subjected Grand to an arbitrary, capricious,

and discriminatory process that did not provide him with adequate notice or with a meaningful

opportunity to be heard, in violation of his Fourteenth amendment rights of due process and equal

protection (Counts V and VI). University Heights Codified Ordinance (“UHCO”) Chapter 1274,

that governs Special Use Permits for “Houses of Worship,” violates the Religious Land Use and

Institutionalized Persons Act (“RLUIPA”) (42 U.S.C. § 2000cc) substantial burden, equal terms,

nondiscrimination, and unreasonable limitations clauses (Counts VIII, IX , X, and XI). Finally, the

City violated Ohio Public record Law, Ohio Code Section 149.43(C)(1)(b), by failing to promptly

prepare and make available for inspection public records that Grand requested (Count XIV).

                                  III.   PROCEDERAL HISTORY

       Plaintiff’s Complaint against City of University Heights and Michael Brennan was filed on

September 8, 2022. Dkt. 1. Defendants’ Answer was filed on November 29. Dkt. 9. Plaintiff’s First

Amended Complaint was filed on May 9, 2023, adding Luke McConville and Paul Siemborski.




                                                 1
    Case: 1:22-cv-01594-BMB Doc #: 81 Filed: 01/26/24 7 of 38. PageID #: 1334




Dkt. 25.1 Defendants’ Answer was filed on July 28. Dkt. 43. Plaintiff’ Second Amended Complaint

was filed on January 2, 2024. Dkt. 67. Defendants’ Answer was filed on January 16, 2024.

                          IV.    UNDISPUTED MATERIAL FACTS

       Daniel Grand lives with his wife and young children at 2343 Miramar Blvd. in University

Heights, Ohio. Ex. 1. As part of Grand’s sincerely held religious beliefs as an Orthodox Jew, Grand

is required to “daven” (pray) three times daily with a “minyan” (group of ten men), and he does

not drive on “Shabbos” (the Jewish day of rest) from Friday sunset to Saturday when stars come

out. Ex. 1. To daven with a minyan on Shabbos, Grand must walk to a “shul.”2 On Tuesday,

January 19, 2021, Grand sent an email inviting some neighbors to “join us this Shabbos for the

inauguration of the Shomayah Tefilah Beis Hakeneset located at 2434 Miramar Blvd. (The Daniel

J. Grand Residence).” Ex. 2. He included three davening times: one on Friday evening, one on

Saturday morning, and one on Saturday evening. Id. According to Grand’s email:

       The prayer session is being put together for two reasons, one has always been to
       expand the community, so we can spread out and open up more houses on the other
       side of Belvoir, and the other is to have a place where people come to really
       seriously daven to Hashem - we want to have a place that doesn’t have talking
       during davening, a powerful place to have your prays [sic] heard and answered
       Bezrat Hashem.

Id. The email was only sent to a few neighbors. Ex. 1. On Thursday, January 21, 2021, at 12:14

PM, a resident named Ben Feldman forwarded the invitation to University Heights Mayor Michael

Brennan using Facebook Messenger. Ex. 3, Ex. 4, 54:2-7. The message stated: “If there is anything

you could do to put a stop to this it would be greatly appreciated.” Ex. 3. Brennan forwarded the

message to the Law Director Luke McConville that day at 1:43 PM. Ex. 4, 58:8-9, Ex 5. Brennan



1
  Other defendants were also added but subsequently voluntarily dismissed. Dkt. 12/19/2023.
2
 A “shul” is a Yiddish term that means a place where davening occurs. Depending on the context,
a shul can refer to a large formal synagogue, a small residential home where davening groups are
held, or a room within a larger building where davening groups are held. Ex. 1.
                                                2
    Case: 1:22-cv-01594-BMB Doc #: 81 Filed: 01/26/24 8 of 38. PageID #: 1335




“act[ed] quickly” because “residents [were] asking us to take action.” Ex. 4, 72:4-16. At 2:34 PM,

McConville asked Brennen for Grand’s email address, and Brennan sent it at 3:00 PM. Ex. 5. At

5:22 PM, McConville emailed a cease-and-desist letter to Grand. Ex. 4, 72:25; Ex. 6. The letter

from McConville, written in his capacity as the City Law Director and authorized by Brennan (Ex.

4, 78:1-3), forbid Grand from using his home “as a place of assembly and/or in operation of a shul

or synagogue,” and that “to the extent that the Premises are currently being used for said purposes

or are intended to be used for such purposes in the immediate future, the City hereby demands that

you immediately cease and desist any and all such operations.” Ex. 6. The letter threatened the

issuance of “citations” and “additional remedies.” Id. The letter referred Grand to University

Heights Codified Ordinance (“UHCO”) Chapter 1274 entitled “Houses of Assembly and Social

Service Uses” (Ex. 32) and directed Grand to “make application to the City’s Planning

Commission for a Special Use Permit.” Id.

       That same day, Brennan called Grand. Ex. 4, 81:20-21. Grand told Brennan “that he was

just trying to get some people together at his house to pray” (Ex. 4, 82:20-22), but Brennan decided

that Grand’s email to friends was enough evidence to determine that Grand intended to open a

formal synagogue that required a SUP and it was “crucial” to send out a cease-and-desist letter

before Shabbos. Ex. 4, 79:21-80:6. Brennan did not give Grand the option to host a small prayer

group without a SUP while the City determined whether he was opening a synagogue. Ex. 4, 85:10-

23, 89:10-15.

       That night, at 11:17 PM, Grand sent an email, cc’d to Brennan, informing his friends that

the prayer group scheduled for that Shabbos was canceled because the City directed him to apply

for a SUP. Ex. 2. Early the very next morning, Friday, January 22, 2021, at 1:05 AM, Grand sent

an email to the Clerk for City Council, Kelly Thomas. Ex. 7.



                                                 3
    Case: 1:22-cv-01594-BMB Doc #: 81 Filed: 01/26/24 9 of 38. PageID #: 1336




       Good Morning Ms. Thomas,

       This is Daniel Grand – apparently, and unbeknownst to me, I will need to file for a
       special use permit with the city planning commission to have friends come over to
       pray at my house. I am totally willing to comply (as usual) – I need to fill out an
       application today and submit it back to you today so I can be inside the 14 day
       window of the next upcoming meeting – God willing I will be able to make it in –
       I have my checks ready, one for $100 and one for $300 – I have the paperwork I
       need to submit the drawings and a picture, and all I need is the application which I
       will fill out like greased lightning and get it right back to you.

Id. On January 22, 2021, at 10:46 AM, Grand applied for a SUP via email to Ms. Thomas. Ex. 8.

The SUP application stated that he was “advised” to apply and that his intention was to “utilize

my current recreation room for periodic religious gatherings.” Id. He shared the following details

about the space: (1) the room was “soundproofed via sound attenuation insulation;” (2) “The total

room size is a tinge over 700 square feet;” (3) “11 tables set up and 21 chairs set up – there is

plenty of walking space between the tables and chairs as well;” (4) the room is on the ground floor

“on slab” and “there is no basement below it;” (5) the room has three means of egress, and the

windows provide means of egress as well; and (6) the group will be held on Shabbos, so

participants cannot drive in cars. Grand concluded, “If there is any other information you need

prior to my request for a special use permit please let me know if I have not satisfied any of the

requirements, and again after our discussion I understand that I would miss the upcoming meeting

and could be on the ‘docket’ for the next one.” Id. Nobody from the City ever reached out to Grand

to inform him of any deficiencies in his application. Ex. 1

       A City PC meeting was scheduled for March 4, 2021, with a single agenda item,

“Recommendation to City Council Regarding a Special Use Permit Application to Mr. Daniel

Grand to use 2343 Miramar Blvd., as a Planned Operation of Shul/Place of Religion Assembly,”

and a notice was sent out. Ex. 9, Ex 10, 33:11-18. Grand’s application never mentioned a

“shul/place of religious assembly,” and Grand did not formulate the language for the notice. Ex.


                                                 4
   Case: 1:22-cv-01594-BMB Doc #: 81 Filed: 01/26/24 10 of 38. PageID #: 1337




8; Ex. 10, 34:4-25. Hardcopies of the notice were sent by U.S. mail to “the entire block of Miramar

and possibly the houses that are in the rear of Miramar.” Ex. 10, 36:11-14.

       Sometime around February 15, 2021, a petition was posted on the website change.org that

included” digital signatures of those opposed to “2343 Miramar Blvd Proposed Shul.” Ex. 11. The

petition was submitted to the PC in advance of the March 4, 2021 meeting. Ex. 12, 141:22-142:11.

By that time, the petition had garnered 195 signatures (id.), including people from other cities and

other states. Ex. 11. Grand submitted a document with 240 signatures in support of his application.

Ex. 15. Brennan sent an email to McConville on February 22, 2021, with the subject “graph of

signers of petition opposing special use permit at 2343 Miramar.” Ex. 13, 14. Attached to the email

was a “partial map” of the City titled “households near 2343 Miramar that signed petition” that

Brennan had personally shaded in: Grand’s home was shaded in blue, and the homes of those

opposed to Grand’s application were shaded in pink. Ex. 4, 140:2-141:2, 141:16-20; Ex. 14. The

map was distributed to the PC prior to the meeting (Ex. 15, at 1), but was not entered into the

record at the meeting (Ex. 12, 10:9-17).

       The PC also received letters from residents in favor and opposed to the application that

were included in the record of the meeting. Ex. 12, 10:9-17. One resident wrote:

       I am not Jewish and I do not want our neighborhood labeled as Jewish. This is not
       prejudice, this is common sense. Gesu school draws an awful lot of people to
       University Hts. and that has kept the area vital. I have signed the petition but I
       would like to know what else I can do to prevent this from happening.

Ex. 16. Several other letters in opposition received by the PC mentioned affiliation with Gesu. See,

e.g. Ex. 17; Ex. 18; Ex. 19, at 4-5. Gesu is a large Catholic church that operates a parochial school

with hundreds of students and is located on Miramar Blvd., one block away from Grand’s home.

Ex. 1; Ex. 14.




                                                 5
   Case: 1:22-cv-01594-BMB Doc #: 81 Filed: 01/26/24 11 of 38. PageID #: 1338




       On March 3, 2021, Grand submitted to the PC a “Letter of Clarity” that he personally

delivered to 36 of his neighbors on his block, and he requested that it be “part of the meeting

tomorrow.” Ex. 19, at 2; Ex. 20. The Letter stated that Grand sought “to have an informal prayer

group for services in my home on the Jewish Sabbath and High Holidays” when driving was

prohibited by Jewish law, and that he only filed his application because the City told him it was a

requirement. Id. The Letter of Clarity was not included as part of the record. Ex. 12, 10:9-17.

       Prior to the March 4, 2021 meeting, the members of the PC deliberated via email. Ex. 15.

Prior to the meeting, one PC member asked Brennan whether “there are other violations on the

Miramar property, and whether they have breached any agreements/understandings with the City

to date.” Id. Brennan replied “we have not conducted a review” of potential violations, but

suggested, “[i]f you find that you would be willing to grant the application, and the only question

is whether he is otherwise in compliance, the matter could be tabled to ascertain that.” Id. These

deliberations were not included in the record of the meeting. Ex. 12, 10:9-17. Before the meeting,

Police Chief Dustin Rogers checked the police records for any Parking Complaints/Violations and

Noise Complaints at Grand’s address and found none. Ex. 21. The facts of this search and its results

were also not introduced into the record. Ex. 12, 10:9-17.

       The March 4, 2021 Meeting was held via zoom and can be viewed on the City’s official

YouTube channel at https://www.youtube.com/watch?v=D5kP12aBUUY. All PC members were

present. Ex. 12, 1-2. Brennan chaired the meeting and is part of the PC. Id. The other members of

the PC are April Urban, Paul Siemborski, Michael Fine, and John Rach. Id. Kelly Thomas, Luke

McConville, and Dustin Rogers were present in their official capacities of City Council Clerk,

Law Director, and Police Chief, respectively. Id. No other City officials attended the meeting. Id.

Before Grand was permitted to present his application, Brennan invited McConville to speak, and



                                                 6
   Case: 1:22-cv-01594-BMB Doc #: 81 Filed: 01/26/24 12 of 38. PageID #: 1339




McConville stated that “the hearing will be conducted as a quasi-judicial hearing under Chapter

2506 of the Ohio Revised Code.” Ex. 12, 5:7-11. This was the first time a Planning Commission

meeting had ever been held in this manner. Ex. 12, 143:5-18, Ex. 19, at 4.

       Grand, through counsel, opened his presentation by stating on the record, “this hearing is

about whether a residence of University Heights may host prayer services in a designated, modest

space in the resident’s house and in a manner that is respectful of and unintrusive upon the

resident’s neighbors,” specifically, “Mr. Grand wants to use the space in his house to host men's

only prayer services for a prayer group once a week and on certain high holidays.” Ex. 12, 17:8-

22:20. When Grand finished presenting his application, he asked to present certain documents for

the record, and Brennan said he would have a chance to be recalled after other testimony was

heard, Ex. 12, 47:13-48:1, but later when Grand tried to introduce his documents, Brennan stated,

“I’ve rested your application, your case.” Ex. 12, 72:5-18.

       Several of those who spoke in opposition mentioned their affiliation with Gesu. See, e.g.,

Ex. 12, 74:11-14, 92:4, 111:2-5, 131:2-6. The opposition included “anti-semitic” and “problematic

community rhetoric,” including repeated concerns about “tax exemptions” and “profit making.”

Ex. 19, at 2-3. One resident said she and her husband had “some suspicions [about Grand] early

on” because, two years earlier, when Grand first moved to the neighborhood, he invited her and

her husband for the Sabbath, “[s]o that to me is already very suspect. From that day on, I thought,

okay, something is going to happen here.” Ex. 12, 95:16-96:1-3. Several members expressed the

same sentiment that if Grand wished to walk to a synagogue he should have purchased a house in

a different neighborhood. See, e.g., Ex. 12, 96:12-16, 122:10-15, 128:7-13. One resident suggested

that Grand host his prayer group by renting space in a “large office building next to Target” so that

“it wouldn’t bother the neighbors.” Ex. 12, 134:1-14.



                                                 7
    Case: 1:22-cv-01594-BMB Doc #: 81 Filed: 01/26/24 13 of 38. PageID #: 1340




        After the neighbors’ testimony but before any deliberation, Planning Commission Member

Michael Fine made a motion:

        I would then make a motion to table that the applicant come back with a more
        thorough presentation as to site plan with the review from the fire department,
        inspection of the building, what needs to be done, whether it's a realistic option
        from … and if he's going to ask for a special use permit. Then it should be what the
        applicant has articulated, what the applicant wants to do.

Ex. 12, 148:21. The Motion was seconded by April Urban. Ex. 12, 151:10-11. John Rach voted

for the Motion and requested for the next meeting “more drawings of the building and the site

plans so we have a clearer understanding of how the space is to be used.” Ex. 12, 151:23-152:1.

Fine’s Motion passed 3-2, with Brennan and Siemborski voting against it. Ex. 12, 152:12-25.

Before Brennan could adjourn the meeting, one resident said, “you people should have done your

homework. Embarrassing,” and another said “Gross, gross. I hope you don’t get reelected. I hope

you don’t get reelected. I hope you don’t. Disgusting.” Ex. 12:153:2-7.

        After the Meeting, the PC deliberated off the record via email as they had done prior to the

meeting. See, e.g., Ex. 19; Ex. 22, Ex 23, Ex. 24. A notice for a second PC meeting went out on

March 11, 2023. Ex. 25, at 2-3. On March 12, 2023, Brennan posted a message to the public

stating: “To be clear, the administration does not endorse or support the application.” Ex. 26. He

also stated that the reason for holding the meeting as a quasi-judicial hearing was to make it more

difficult for Grand to get “a second bite at the apple” by appealing to a court. Id. Brennan sought

to ensure that a court would be confined to the transcript of the hearing and the documents

presented to the PC, and that Grand would be forbidden from bringing up matters that he failed to

raise at the hearing. Id.

        On March 16, 2021, Grand emailed the PC:

        As you know, the hearing has been accelerated, I have still not been provided clear
        requests from the city planning commission – I have yet to be put in touch with the
        proper personnel including the city engineer, the fire department chief, the police
                                                 8
   Case: 1:22-cv-01594-BMB Doc #: 81 Filed: 01/26/24 14 of 38. PageID #: 1341




       chief, I thought Councilman Rach as an architect wanted to see the space, I really
       don’t know what the city is expecting, and I have requested it in writing, meaning
       what they want me to do prior to the next meeting… This was the entire basis for
       the decision to table, was it not? To date, I have not been given the contact
       information, or a clear list of requested items, and the added acceleration makes me
       feel as though I should request a continuance, so that is what I am doing, if I do not
       have the requested information by the end of the day tomorrow, I will request a
       continuance.

Ex. 27, at 2-3. Grand’s lawyer also reached out to the PC on March 17. Id., at 2. PC Member Rach

responded that he needed floor plans and a site plan from an architect “indicating space to be used

for assembly, entrance/exit, parking as applicable, setback requirements, property lines, etc.” Id.

       On March 17, Brennan responded:

       At the meeting of March 4, 2021, the Planning Commission tabled the matter
       without discussion or deliberation, even though you had closed your case as
       applicant. Since the meeting, individual members have expressed their desire to
       discuss what has been presented. This discussion is not to be done as a group
       outside of the confines of a public meeting.

       We have called the public meeting in order to allow the Planning Commission to
       take the application from the table for discussion among the board members and
       city administration officials. Any additional testimony or additional
       evidence/materials for or against the application is closed for purposes this meeting.
       As such, there is no expectation that you prepare or submit additional materials
       before or at the March 23 special meeting.

       I suggest applicant be present to answer questions of commission members
       pertaining to applicant’s previous testimony. Notwithstanding that, neither are you
       expected to submit additional materials before next Tuesday’s meeting, nor will
       they be considered on Tuesday if you do. The Planning Commission may discuss
       whether additional materials are needed to make the decision on the merits. If such
       materials are deemed necessary, you will be given sufficient time to provide them.

Ex. 27, at 1 (emphasis added). Grand’s counsel asked Brennan whether Grand had been advised

that Brennan had decided to turn the first meeting into a quasi-judicial format, to which Brennan

responded by stating that “Special Use Permit proceedings are quasi-judicial” and suggested that

it was Grand’s counsel’s responsibility to know that and to advise Grand in advance. Id.




                                                 9
   Case: 1:22-cv-01594-BMB Doc #: 81 Filed: 01/26/24 15 of 38. PageID #: 1342




       On March 22, 2021, Chief of Police Rogers sent Brennan a memorandum regarding the

upcoming March 23, 2021 meeting stating that he was not aware of Grand or any member of the

PC reaching out to the police department regarding the application. Ex. 28. Chief Rogers listed as

“public safety factors to be considered . . . the impact on vehicular/pedestrian traffic, vehicular

parking, maintaining the good order and quiet of the community, and the potential for subsequent

opportunistic crimes.” Id. He reiterated that “since 2017 we have had zero noise/disturbance

complaints at 2434 Miramar, and zero parking complaints in the immediate area of 2343

Miramar.” Id.

       The March 23, 2021 Planning Commission meeting was held via zoom, lasted only 6

minutes and 5 seconds, and is available for viewing on the City’s official YouTube Channel at

https://www.youtube.com/watch?v=5Pl0YbrbZek&t=278s. See also Ex. 4, 243:4-248:15.

Brennan was the only person to speak at the meeting. Id. Brennan stated that PC had “demonstrated

their desire to discuss this matter, in essence to deliberate, in the form of e-mails” after the March

4, 2021 meeting until “[o]ur law director reminded all commission members of our obligations

under the Sunshine Law to deliberate by way of a publicly noticed meeting.” Id. Brennan did not

disclose the substance of the email deliberations, the concerns about “antisemitic rhetoric” (Ex.

19, at 2-3), the discussions with Grand and his attorney (ex. 27), or the Police Chief’s report (Ex.

28). Brennan read into the record an email sent by Grand to the Planning Commission that day

prior to the Meeting which stated:

       Mayor Brennan and Planning Commission, please be advised that I'm withdrawing
       my application for a special-use permit. I do not wish to operate a house of worship
       as is defined under the zoning ordinance, in the privacy of my home.

Brennan then went on to state on the record:

       I therefore note for the record that the application is withdrawn. There is no special-
       use permit for 2343 Miramar Boulevard. And I will remind the applicant that the
       cease-and-desist order of the City, dated January 21, 2021 remains in effect. Let
                                                 10
   Case: 1:22-cv-01594-BMB Doc #: 81 Filed: 01/26/24 16 of 38. PageID #: 1343




       there be no confusion, congregating at 2343 Miramar Boulevard or any other
       address located in a residence zoned U-1 without a special-use permit is a violation
       of city law.

       I'm hopeful that the wording of the withdrawal is not intended to suggest that
       congregating weekly at a residence to conduct activities consistent with those in a
       house of assembly does not require a special-use permit. As recently as two months
       ago, the city brought suit against the organizers of another residential shul, one on
       Churchill Boulevard, and ultimately obtained a permanent injunction in court.

       To the community members who are here, let there be no question, there is no
       permission granted here to operate … a house of assembly or conduct activities
       consistent with one at 2343 Miramar Boulevard. If you observe such activities, and
       I hope you do not, but if you do, you may report them to the city, and the city will
       enforce its laws, which exist for the benefit of the entire community. And we will
       seek all appropriate remedies in court. With that I move to adjourn.

Ex. 4, 243:4-248:15 (emphasis added).

       On March 23, 2021, prior to the meeting, the City’s entire uniform police division was

instructed to monitor Grand’s home for “violations to 452.03 Prohibited Standing or Parking

Places.” Ex. 29. On March 25, 2021, Police Chief Rogers wrote to Brennan, McConville, and the

head of the City Building Department that “it would be my recommendation for the Building

Department to take the lead on this matter going forward … However, the PD will assist in any

way we can to resolve the matter, to include patrol officers responding after hours to

photograph/video possible evidence of a complaint/infraction.” Ex. 30. On March 28, 2021, the

City prosecutor wrote in an email that Brennan had directed a housing inspector to conduct an

inspection of Grand’s property “and issue a written 10-day notice for all violations he sees” as the

first step to “laying a foundation for a successful prosecution if it becomes necessary.” Ex. 31. The

prosecutor noted that she currently did not have probable cause for a warrant but believed that the

inspector could create a list of external violations that “may be enough to get me started on a

process of getting a court to order more.” Id. She concluded by stating that “between the mayor’s




                                                 11
      Case: 1:22-cv-01594-BMB Doc #: 81 Filed: 01/26/24 17 of 38. PageID #: 1344




office, the housing department, and [the prosectors] office, we are all pressing forward as urgently

as we can. Id.

                                    V.     LEGAL STANDARD

         Summary judgment is appropriate if the movant shows that there is no genuine dispute as

to any material fact and the movant is entitled to judgment as a matter of law. Fed.R.Civ.P. 56(a).

Ultimately, the question is whether the evidence presents a sufficient disagreement to require

submission to a jury or whether it is so one-sided that one party must prevail as a matter of

law. Johnson v. Memphis Light Gas & Water Div., 777 F.3d 838, 843 (6th Cir. 2015). “[A] mere

‘scintilla' of evidence in support of the non-moving party's position is insufficient to defeat

summary judgment; rather, the non-moving party must present evidence upon which a reasonable

jury could find in her favor.” Tingle v. Arbors at Hilliard, 692 F.3d 523, 529 (6th Cir. 2012).

VI.      THE CITY’S POLICIES AND BRENAN’S ACTIONS VIOLATED GRAND’S
         FIRST AMENDMENT RIGHT TO FREE EXERCISE OF RELIGION AND
         FREEDOM OF ASSEMBLY, COSTITUTE AN UNLAWFUL PRIOR RESTRAINT,
         AND VIOLATE THE OHIO CONSTITUTION (COUNTS I, II, III, AND XII).

         Section 1983 creates a federal cause of action against state or local officials who deprives

someone of a federal constitutional right while acting under color of state law. Monell v. Dep't of

Soc. Servs., 436 U.S. 658, 691-92 (1978). To prevail in a § 1983 suit against a municipality, a

plaintiff must show that the alleged federal right violation occurred because of a municipal policy

or custom. Monell, 436 U.S. at 694. The "touchstone," then, is an "official policy" that causes the

alleged constitutional violation. Monell, 436 U.S. at 691. Official municipal policy includes

lawmakers' legislative and policy-making decisions, as well as "practices so persistent and

widespread as to practically have the force of law." Connick v. Thompson, 563 U.S. 51, 61 (2011).

A plaintiff can prove the existence of a municipality's illegal policy or custom by looking to policy

statements, ordinances, decisions officially adopted and promulgated by a governing body’s


                                                 12
    Case: 1:22-cv-01594-BMB Doc #: 81 Filed: 01/26/24 18 of 38. PageID #: 1345




officers, or decisions made and implemented by authorized decision makers that have not received

formal approval. Monell, 436 U.S., at 694; Pembaur v. City of Cincinnati,475 U.S. 469, 480-81

(1986). An individual official is liable if the plaintiff shows that the official, acting under the color

of law, violated a constitutional right that was clearly established at the time. Fritz v. Charter Twp.

of Comstock,592 F.3d 718, 722 (6th Cir.2010); Zilich v. Longo, 34 F.3d 359, 365 (6th Cir. 1994).

        The First Amendment protects the right to engage in conduct motivated by religious

belief. Prater v. City of Burnside, 289 F.3d 417, 427 (6th Cir.2002) (citing Employment Div. v.

Smith,494 U.S. 872, 877 (1990)). To establish a claim under the Free Exercise Clause, a plaintiff

must show that the defendants’ behavior infringes upon the plaintiff’s sincerely held religious

belief. Id. The First Amendment also protects the right to assemble peaceably. Wilkinson v. United

States, 365 U.S. 399, 427 (1961); De Jonge v. Oregon, 299 U.S. 353 (1937).

        There is no genuine issue of material fact that Grand’s stated intention to peaceably

assemble with a group of friends to pray in his private home on the Jewish Sabbath (Ex. 2; Ex. 7;

Ex. 8) is (1) pursuant to his sincerely held religious belief (Ex. 1); (2) is protected by the First

Amendment’s guarantees of the rights to exercise religion and peaceably assemble, Sause v.

Bauer, 138 S. Ct. 2561, 2562 (2018) (“The Free Exercise Clause plainly protects the right to pray

in one’s own home.”); De Jonge , 299 U.S. 353; and (3) was clearly established in January of 2021.

        The January 21, 2021 cease-and-desist order stated unambiguously that Grand was

prohibited from using his home “as a place of religious assembly and/or in operation of a shul or

synagogue.” Ex. 6 (emphasis added). The order thus targeted any religious “assembly” in a private

home as well as the formal operation of a synagogue. Brennan authorized the cease-and-desist

order (Ex. 4, 81:6-13) after receiving a single facebook message from a resident that included a

message that stated that Grand allegedly invited the people on the “Groveland Chat” to join him



                                                   13
   Case: 1:22-cv-01594-BMB Doc #: 81 Filed: 01/26/24 19 of 38. PageID #: 1346




“this Shabbos” for “Davening” on Friday at 5:20 p.m., Shabbos at 9:45 p.m., and again on Shabbos

at 5:00 p.m. Ex. 3. Brennan found Feldman’s complaint consistent with a phenomenon of “pop up

synagogues.” Ex. 4, 69:2-7. Grand told Brennan he was “just trying to get some people together at

his house to pray” (Ex. 4, 83:20-22), but Brennan decided that Grand was actually opening a

synagogue in his house and that Brennan needed to respond immediately to prevent a meeting at

Grand’s house before the upcoming Shabbos. Ex. 83:21-84:4, 85:12-15. Brennan pursued a policy

of ordering Grand to cease-and-desist his prayer group based on the suspicion that Grand might be

opening a synagogue in his house, and “if it’s not a synagogue, then that was something that could

be determined later.” Ex. 4, 85:16-23. This is the exact opposite of the least restrictive means.

Brennan acted peremptory to ban Grand’s prayer group before it even started, and without

providing Grand any means to pray with fellow Jews in the privacy of his home, to eliminate “any

confusion about the fact that the city cannot simply – does not simply abide having houses of

worship opened without going through the process that involves having asking the [PC] for a

special use permit.” Ex. 4, 85:16-23.

       Grand immediately canceled the scheduled prayer group and applied for a SUP. Ex. 2; Ex.

7; Ex. 8. He was not able to have a hearing until March 4, 2021, over six weeks later. Ex. 9. At

minimum, he was prevented from having his prayer group for six weeks. When the government

intentionally places a burden upon religiously motivated practice, it must justify that burden by

“showing that it is the least restrictive means of achieving some compelling state interest.” Church

of the Lukumi Babalu Aye, Inc. v. City of Hialeah, 508 U.S. 520, 578 (1993). In this case there was

no compelling stated interest and least restrictive means were not used.

       There is no issue of material fact as to why Brennan sent the order prohibiting Grand from

hosting his prayer group in his home: it was to vigorously enforce the City’s policy against



                                                14
   Case: 1:22-cv-01594-BMB Doc #: 81 Filed: 01/26/24 20 of 38. PageID #: 1347




“residential shuls,” “pop up synagogues,” or “makeshift synagogues,” which have occurred

periodically around the city. Ex. 3, Ex. 4, 156:13-21, 159:20-25. According to the message from

Ben Feldman on which Brennan relied (Ex. 4., 91:7-9), “there are already a number of these pop

up synagogues in the neighborhood, one on my own block on Groveland.” Ex. 3. The City has no

compelling interest in banning assembly in “residential shuls.” If it did, the compelling interest

would equally apply to other residential religious assembly activities such as Bible study, houses

of mourning, and large Christmas or Shabbos gatherings. There was no legitimate concern for

safety as the police reported that there had never been even a single complaint about Grand in all

the years he lived in his home. Ex. 21; Ex. 28. Traffic and parking were also not legitimate concerns

as the invitation only invited people to come and pray on Shabbos when Grand and his friends do

not drive. Ex. 2; Ex. 8; Ex. 20. Further, neither the Supreme Court nor the Sixth Circuit have found

even “highway safety” to be a compelling governmental interest in the First Amendment context,

and certainly not parking and traffic on a residential street. Thomas v. Bright, 937 F.3d 721, 733

(6th Cir. 2019). Brennan revealed the true government interest when he created the map of

opposition (Ex. 13; Ex. 14), namely, that there is a vocal constituency opposed to “residential

shuls.” But the First Amendment does not allow for a “heckler’s veto.” Cf. Believers v. Wayne

Cnty., 765 F.3d 578, 593 (6th Cir. 2014); Paris Adult Theatre I v. Slaton, 413 U.S. 49, 112 (1973)

(Brennan, J. dissenting) (“Even a legitimate, sharply focused state concern for the morality of the

community cannot, in other words, justify an assault on the protections of the First Amendment.”).

       But even if the governmental interests were compelling – which they are not - the City

policy regarding “residential shuls” and religious “assembly” is not narrowly tailored to

accomplish those interests. Lukumi Babalu Aye, 508 U.S. at 546. According to Brennan, he was

following the City’s policy that was triggered when he received the Ben Feldman message. If a



                                                 15
   Case: 1:22-cv-01594-BMB Doc #: 81 Filed: 01/26/24 21 of 38. PageID #: 1348




resident desires to “open[ ] something that requires a special [use] permit under [UHCO Chapter

1274] … there is a process for doing that,” namely, the resident must first seek permission from

the PC to determine whether the applicant is opening a synagogue or else just wants to “have a

small group of people pray in his home.” Ex. 4, 91:10-16, 161:23-162:14. If it turns out to be the

latter, “the City is prepared to say fine. That’s not the City’s business.” Id. Brennan knew that

Grand had “not yet actually started” hosting a prayer group, “apart from the announcement” (Ex.

4, 74:5-75:10), but under the City’s ordinances and policies, the determination of whether Grand’s

home prayer group constituted a synagogue was:

       something that could be determined later. But in the meantime, [Brennan] didn’t
       want there to be any confusion about the fact that the city cannot simply – does not
       simply abide by having houses of worship opened without going through the
       process that involves having asking the board for a Special Use Permit.

Ex. 4, 85:16-23. Brennan was very clear, “if he’s attempting to open a synagogue or a shul in his

home, as per this invitation, that he is not to do that without a special use permit.” Ex. 4, 162:23-

163:3 (emphasis added).

       According to Brennan, the invitation that he received in the Ben Feldman message (Ex. 3),

is subject to the same rules as Brennan getting “a notification that somebody is opening a new

business in the City and they don’t have an occupancy permit.” Ex. 4, 159:4-16. The City policy

is “to go over there before their grand opening and say, hey, full stop, what you doing? You haven’t

been before the city … We don’t wait for them to just go ahead and open up and then come and

shut them down in the middle of the process.” Id. The City policy does not require any “lengthy

analysis.” Ex. 4, 162:3-4. Brennan did not inquire into the extent to which Grand had distributed

the invitation or the number of people who were likely to attend, and he saw no reason why such

investigation would be necessary before preemptively ordering Grand to shut down his prayer

group. Ex. 4, 161:8-14, 162:15-19. Brennan did not provide guidelines as to when private prayer


                                                 16
   Case: 1:22-cv-01594-BMB Doc #: 81 Filed: 01/26/24 22 of 38. PageID #: 1349




in a private home might be permissible, such as proposing a limitation on the number of people

who could gather, or indicating what communications relating to the private prayer group might

create an issue of municipal concern. Ex. 4, 89:10-15. The City simply shut down Grand’s prayer

group, regardless of the number of people who would attend, without gathering any evidence

beyond the hearsay comment of a single resident. There is no question that the City’s order to

cease-and-desist from religious assembly in his home until he obtains approval from the City is an

unconstitutional prior restraint that resulted in injury to Grand. Phillips v. DeWine, 841 F.3d 405,

424 (6th Cir. 2016); Newsom v. Norris, 888 F.2d 371, 378 (6th Cir. 1989) (quoting Elrod v.

Burns, 427 U.S. 347, 373 (1976) (“The loss of First Amendment freedoms, for even minimal

periods of time, unquestionably constitutes irreparable injury.”).

       The Supreme Court has found a prior restraint where public officials had forbidden the

exercise of protected conduct in public places, under the authority of laws that gave public officials

the power to deny the use in advance of the actual expression. Southeastern Promotions, Ltd. v.

Conrad, 420 U.S. 546, 552-53 (1975) (collecting cases). Here, the City policy forbids protected

conduct in Grand’s private home without a SUP, giving Brennan unbridled discretion to determine

that Grand’s intentions were to open a formal synagogue in his house, and therefore prevent him

from inviting friends to his home prior to first obtaining a SUP at a quasi-judicial hearing. A policy

that gives Brennan such unbridled discretion is patently unconstitutional. Lakewood v. Plain

Dealer Pub. Co., 486 U.S. 750, 752-53, 757 (1988). Based on nothing more than an unverified

complaint from a single resident, Grand was prohibited from hosting the prayer group in his home

for six weeks until the first hearing, and was required to pay $400 for application fees and hire an

attorney for the hearing. Ex. 7, Ex. 12, 15:1-3.




                                                   17
    Case: 1:22-cv-01594-BMB Doc #: 81 Filed: 01/26/24 23 of 38. PageID #: 1350




       But the City’s violation of Grand’s rights did not stop with its initial cease-and-desist letter.

After Grand withdrew his application for a SUP, Brennan announced an official City policy of

frightening overbreadth, making clear that Grand was barred from conducting any activities

“consistent with those in a house of assembly” and that neighbors should feel free “to report”

Grand if they observed activities “consistent with those of a house of assembly.” Ex. 4, 243:4-

248:15. Pursuant to the City policy outlined above, Grand’s application to “utilize [his] current

recreation room for periodic prayer gatherings” constitutes the “sorts of things [that] seem

consistent with a house of worship.” Ex. 4, 120:3-122:18, Ex. 8. Such a policy unquestionably and

incontrovertibly chilled Grand’s exercise of his First Amendment rights and validated the kind of

community ostracism and hatred characteristic of the some of the lowest moments in history, when

antisemitism was formally endorsed by the state. There is no question that Brennan’s prepared

statement, as the Mayor and chair of the City’s Planning Commission, made in front of and with

acquiescence of the PC, at a widely attended official public meeting, was a City policy under

Monell. A “municipal policy” can include a policy statement, an ordinance or regulation, a

decision officially adopted and promulgated or the existence of an “actionable custom” that

“policymaking officials knew about and acquiesced in the practice at issue.” Frontera v. City of

Columbus Division of Police, 395 F. App'x 191, 196 (6th Cir. 2010). Brennan also expressly stated

on March 23, 2021, that activities “consistent with” the ones that Grand intended were forbidden

and did not clarify what those activities were. Ex. 4, 243:4-248:15.3 This vagueness constitutes an

unlawful restriction on Grand’s First Amendment rights that is still in effect to this day.




3
  This is an issue of religious freedom generally. Though the City has until now only targeted
Orthodox Jewish residential religious assemblies, the City may begin to enforce this ban against
residential religious assemblies of other religions.
                                                  18
   Case: 1:22-cv-01594-BMB Doc #: 81 Filed: 01/26/24 24 of 38. PageID #: 1351




       The Ohio Constitution provides even broader protection of the free exercise of religion

than the Federal Constitution. Humphrey v. Lane, 728 N.E.2d 1039, 1043-45 (2000). While the

federal Constitution states that Congress shall make no law “prohibiting the free exercise [of

religion],” the Ohio Constitution adds the phrase, “nor shall any interference with the rights of

conscience be permitted,” which, according to the Ohio Supreme Court, makes even those

“tangential effects potentially unconstitutional.” Id. (quoting Ohio Const. Art. I, § 7) (“That

protection applies to direct and indirect encroachments upon religious freedom.”). Further, there

is no requirement either that (a) the regulation at issue not be neutral and generally applicable; or

(b) that the burden must be “substantial” in nature. Id. Preventing Grand from hosting a prayer

group in his home on Shabbos “has a coercive effect against [him] in the practice of [his] religion.”

Id., at 1045. As discussed above, that action is not the least restrictive means of achieving a

compelling government interest. Moreover, Ohio courts have a strong history of sensitivity to

Orthodox Jews in particular whose faith requires them to have places to pray within walking

distance. See, e.g., Young Israel Org. of Cleveland v. Dworkin, 133 N.E. 2d 174, 176 (Ohio App.

1956) (“Because they adhere to this faith their places of worship must be within walking distance

of their homes.”); State ex rel. Anshe Chesed Congregation v. Bruggemeier, 115 N.E. 2d 65, 70-

71 (Ohio App. 1953) (“The place of the church is to be found in that part of the community where

the people live.”).

       On the uncontroverted evidence, there is no genuine issue of material fact as to whether

the City’s policies and Brennan’s conduct violated Grand’s First Amendment rights of free

exercise and assembly and imposed a prior restraint on his ability to do so. Summary judgment

must be imposed on the City and Brennan under Counts I, II, III, and XII of Plaintiff’s Second

Amendment Complaint.


                                                 19
       Case: 1:22-cv-01594-BMB Doc #: 81 Filed: 01/26/24 25 of 38. PageID #: 1352




VII.      THE CITY’S POLICIES AND BRENNAN’S ACTIONS VIOLATED GRAND’S
          PROCEDURAL DUE PROCESS RIGHTS (COUNT V).

          “A procedural due process claim consists of two elements: (i) deprivation by state action

of a protected interest in life, liberty, or property, and (ii) inadequate state process.” Reed v. Goertz,

143 S. Ct. 955, 961 (2023). It cannot be disputed that Grand’s freedom to pray and assemble in his

home is a protected liberty interest. United States v. Guest, 383 U.S. 745, 770 (1966) (“The liberty

of all human beings which cannot be taken away without due process of law includes liberty of

speech, press, assembly, religion, and also liberty of movement.”) (citation omitted) (cleaned up).

It also cannot be disputed that Grand was deprived of those liberty interests, first by the cease-and-

desist order, and then by Brennan’s proclamation at the PC meeting held on March 23, 2021, when

Brennan declared that “congregating weekly at a residence to conduct activities consistent with

those in a house of assembly” at Grand’s home is a “violation of City law.” Ex. 4, 243:4-248:15.

          Grand’s basic freedoms to pray and assemble in his home were taken away by the City

without due process. First and most obviously, Grand was denied due process by the cease-and-

desist order that immediately and without a hearing or any meaningful opportunity to be heard

deprived Grand of his right to host a prayer group in his home until he obtained a SUP from the

PC. See supra. Brennan called Grand after he had already decided to issue the order, but only to

inform Grand of his decision, not to have “a conversation about what he may or may not be

claiming to be doing.” Ex. 4, 93:14-24. Grand tried to tell Brennan “that he was just trying to get

some people together at his house to pray,” but Brennan determined that Grand was “withholding”

that he had “invited the community to come over to the opening of the synagogue, to come meet

the rabbi, and be a part of an ongoing concern with regular weekly services.” Ex. 4, 82:20-25.

Brennan withheld from Grand that he had received the Ben Feldman message containing Grand’s

email and did not give Grand an opportunity to explain its contents. Ex. 4, 83:1-4.


                                                   20
   Case: 1:22-cv-01594-BMB Doc #: 81 Filed: 01/26/24 26 of 38. PageID #: 1353




       Grand was thus deprived of his right to exercise his religion and assemble in his home

without the benefit of a hearing for six weeks, from January 21, 2021, until at least the first

opportunity for a Planning Commission meeting, which was March 4, 2021 (Ex. 7). The meeting

was tabled until a second meeting scheduled for March 23, 2021, extending the ban created by the

cease-and-desist letter for another three weeks. Brennan then made it clear that Grand could not

submit additional materials or present any argument in support of his position at the second

meeting, even though the March 4, 2021 meeting had been tabled expressly to permit Grand to

supplement his application. As a result, even if the City allowed Grand to host a private prayer

group in his home after the March 23, 2021 meeting, he was denied a the right to do so for nine

weeks without a hearing. This fact alone constitutes a violation of Grand’s right to procedural due

process rights, and summary judgment against the City and Brennan is appropriate. Johnson v.

Morales, 946 F.3d 911, 921 (6th Cir. 2020) (“It is the general rule that due process ‘requires some

kind of a hearing before the State deprives a person of liberty or property.’”) (quoting Zinermon v.

Burch , 494 U.S. 113, 127, (1990) (collecting cases)); Taghzout v. Gonzales, 219 F. App'x 464,

472 (6th Cir. 2007) (“When a person has no hearing or opportunity to be heard whatsoever, the

process is inadequate.”); Cleveland Bd. of Educ. v. Loudermill 470 U.S. 532, 542 (1985); Carey v.

Piphus, 435 U.S. 247, 266 (1978) (holding that “the right to procedural due process is ‘absolute’

in the sense that it does not depend upon the merits of a claimant's substantive assertions”).

       Grand’s due process rights were further violated by the unfair process to which he was

subjected by the PC. The minimum requirements of due process are notice and an opportunity for

a hearing appropriate to the nature of the case. Transco Sec., Inc. of Ohio v. Freeman, 639 F.2d

318, 321 (6th Cir. 1981). The purpose of notice is to apprise the affected individual of, and permit

adequate preparation for, an impending hearing. Id., at 323. When a hearing or decision may be



                                                21
    Case: 1:22-cv-01594-BMB Doc #: 81 Filed: 01/26/24 27 of 38. PageID #: 1354




determinative of a parties’ rights, due process requires that notice be “reasonably calculated, under

all circumstances,” to apprise interested parties of the action to be taken, to provide them with an

“effective opportunity to be heard,” and to afford them an “opportunity to present their

objections.” Hamby v. Neel, 368 F.3d 549, 560 (6th Cir. 2004) (citations omitted).

       The general notice which Grand received for the March 4, 2021 meeting (Ex. 9) “did not

permit adequate preparation for participation in a meaningful way” for the hearing on March 4,

2021. Transco, 639 F.2d at 321. The notice only provided the time and date of the meeting, a zoom

link, and one sentence description of the subject of the hearing. Ex. 9 Grand was not informed that

the proceeding would be conducted as a “quasi-judicial” hearing with sworn testimony, direct and

cross-examination of witnesses, opening and closing statements, and municipal direction as to

when an applicant had rested its case, and was no longer permitted to add to, comment on, or

clarify a prior statement. The quasi-judicial format was “different than one [the PC] ever used

before.” Ex. 12, 143:5-18; Ex. 19, 4 (“Never have we allowed such a format…That we turned this

into a court proceeding…”).4 No reasonable person could possibly have known – in the absence

of any notice or any prior practice – that the PC proceeding was to be “quasi-judicial” or could

possibly have meaningfully prepared for such a proceeding. A departure from normal rules

amounts to a due process violation “when the departure results in a procedure which itself impinges

on due process rights.” John Doe v. Univ. of Cincinnati, 872 F.3d 393, 407 (6th Cir. 2017)

(citations omitted). Here, the quasi-judicial hearing directly impinged on Grand’s ability to be



4
  Only one month earlier, on February 4, 2021, the PC met on a different application for a
nonreligious use, https://www.youtube.com/watch?v=eUtw7M0x-TE&t=356s (last visited Jan.
26, 2024). The proceedings were not “quasi-judicial.” The applicant and witnesses were not sworn
in under oath. Id., at 2:49, 4:15. There was no cross examination and the City did not intervene to
silence the applicant by telling him his case had been “rested” by the chair. On the contrary, the
PC had previously considered the applicant’s presentation several weeks earlier and had given him
an opportunity to modify his application and return. Id., at 3:10.
                                                 22
   Case: 1:22-cv-01594-BMB Doc #: 81 Filed: 01/26/24 28 of 38. PageID #: 1355




heard, as his counsel was not prepared to cross-examine witnesses and Brennan forced Grand to

rest his case against his will, even as he tried to introduce evidence into the record. Ex.12, 47:13-

48:1, 72:5-18. Grand would plainly have prepared and presented differently had he known he

would be subjected to this form of proceeding. Ex. 27, at 1-2.

       Aside from inadequate notice, “the essence of procedural due process is a fair

hearing,” Vitek v. Jones, 445 U.S. 480, 500 (1980), and the March 4, 2021 hearing was not fair.

First, Brennan, the chair of the committee, admitted that he and his administration were biased.

Ex. 25 (“To be clear, the administration does not endorse or support the application.”). Already

before the March 4, 2021 meeting, at the time Brennan sent the cease-and-desist letter, Brennan

had determined that anything Grand would say regarding his application would be a lie. Ex. 4,

163:14-21 (“I don’t find what he says to be truthful in general. So I was less concerned about

asking Mr. Grand questions, giving him opportunities to lie to me.”), 164:5-4 (“I don’t find Mr.

Grand to be an honest person.”), 164:24-165:1 (“[H]e doesn’t respect the law, clearly. He doesn’t

respect the authority of the board of zoning appeals[.]”); 168:2-3 (“Mr. Grand seems willing to

game the system.”). Brennan even created and distributed a map highlighting the houses of

residents who signed a petition opposing Grand’s application (Ex. 13: Ex. 14; Ex. 15, at 1), while

failing to highlight the houses of residents who signed a similar petition in support that Grand had

submitted. Ex. 15, at 2. “[I]t is a hallmark of procedural due process that a biased decisionmaker

is constitutionally unacceptable[.]” Nasierowski Bros. v. City of Sterling Heights, 949 F.2d 890,

897 n.8 (6th Cir. 1991); Deja Vu of Cincinnati, L.L.C. v. Union Township Board of Trustees, 411

F.3d 777, 784 (6th Cir. 2005) (quoting City of Huber Heights, No. 2000 CV 03932 (slip op.), at

12-13) (“[I]t is axiomatic that a hearing conducted before a biased individual . . . would not fulfill

a requisite requirement of fundamental fairness that must pre-dominate in all quasi-judicial



                                                 23
   Case: 1:22-cv-01594-BMB Doc #: 81 Filed: 01/26/24 29 of 38. PageID #: 1356




proceedings.”); Coley v. Bagley, 706 F.3d 741, 750 (6th Cir. 2013) (“A biased decision-maker is

constitutionally unacceptable.”). Cf. Murphy v. Intern. Union of Operating Engineers, 774 F.2d

114, 124 (6th Cir. 1985) (quoting Myers v. Affiliated Property Craftsmen, etc.,667 F.2d 817,

820 (9th Cir. 1982) (“When a member of a trial committee has admitted to prejudging the guilt of

the accused before the hearing, the courts have not hesitated to rule there was no full and fair

hearing as required by the L.M.R.D. A.”).

       Further, the quasi-judicial hearing on March 4, 2021, was not fair because critical evidence

was withheld from Grand and never entered into the record by the City. “When the agency making

the decision relies on evidence that the claimant has no chance to refute, the hearing becomes

infected with a procedure that lacks that fundamental fairness the citizen expects from his

Government.” United States v. Bianchi Co., 373 U.S. 709, 720 (1963). Significantly, the Ben

Feldman facebook message was withheld from Grand (Ex. 4, 83:1-4) and was never entered into

the record. Grand was not provided with the letters from residents, including ones that contained

what members of the PC considered to be “antisemitic rhetoric.” Ex. 1; Ex. 16; Ex. 17; Ex. 18; Ex.

19, at 2-3, 4-5. Favorable evidence, including Grand’s Letter of Clarity (Ex. 20), was also never

entered into the record.

       In closed-session email deliberations prior to the March 4, 2021 meeting, the Planning

Commission discussed in advance of the meeting the possibility of tabling the application to

conduct a determination as to whether there were other unknown and unspecified violations. Ex.

15, at 1-2 (“We have not yet conducted or completed that review. But if you find you would be

willing to grant the application, and the only question is whether he is otherwise in compliance,

the matter could be tabled to ascertain that.”). Not only were these deliberations not included in

the record on March 4, 2021, but worse yet, the City was prepared to let Grand present his



                                               24
   Case: 1:22-cv-01594-BMB Doc #: 81 Filed: 01/26/24 30 of 38. PageID #: 1357




application without providing notice that the City was unprepared to render a decision until it

“conducted or completed a review” for unspecified violations. The police completed a review just

hours before the meeting and found zero violations. Ex. 21. This critical piece of evidence was

also withheld from Grand and was not entered into the record. Brennan also withheld the map he

prepared that was distributed to the PC prior to the meeting. Ex. 13; Ex. 14; Ex. 15, at 1.

       Grand’s due process rights were further violated by the City’s failure to notify Grand in

advance of the meeting that his application was deficient, despite his repeated requests for

assistance. Ex. 7; Ex. 8. According to Kelly Thomas, the most senior City administrator, the City’s

normal procedure had always been for the City’s Building Commissioner to reach out to an

applicant to assess whether the proposed application is deficient in any material way. Ex. 10, 7:21-

25, 17:18-19-2. Normally, the City “will work with an applicant to help them develop their

application to make the best case for their proposal,” but Grand was deprived of that assistance

from the City because “the application was made only after the City sent a cease-and-desist letter

to applicant in response to his widely circulated invitation announcing the opening of a shul.” Ex.

25. In other words, based on the contents of the Ben Feldman facebook message, the City took an

adversarial approach to Grand’s application and withheld its “input and support.” Id. The fact that

Grand was not given notice that his application was deficient was especially prejudicial as Grand

was forced to rest his case before he had a chance to submit all of his evidence at the March 4,

2021 hearing, and he was prevented from modifying or revising his application prior to the March

23, 2021 meeting. Ex. 27.

       The City’s violation of Grand’s due process rights continued after the hearing. The official

Transcript of the hearing unambiguously records that the PC voted to table the discussion of

Grand’s application to permit Grand to present additional evidence to the PC. Ex. 12, 148:21-



                                                25
        Case: 1:22-cv-01594-BMB Doc #: 81 Filed: 01/26/24 31 of 38. PageID #: 1358




 149:4. Yet shortly after the hearing, Brennan unequivocally stated that Grand would not be allowed

 to present additional evidence at the subsequent meeting. Ex. 27, at 1-2. Brennan’s arbitrary refusal

 to implement an official decision unquestionably constitutes a violation of Grand’s Fourteenth

 Amendment due process rights. Additionally, the PC had substantive closed-session deliberations

 via email after the meeting (Ex. 19; Ex. 22; Ex. 23: Ex. 24), but these deliberations were never

 entered into the record, and Grand did not have knowledge of them or an opportunity to respond

 to the PC’s concerns. The deliberations after the meeting included discussions of “antisemitic

 rhetoric” demonstrating that the PC was aware that at least some of the opposition was motivated

 by antisemitism. Ex. 19. At 2-3. These concerns were never made public.

           “[A]n administrative hearing of such importance and vast potential consequences must be

 attended, not only with every element of fairness but with the very appearance of complete

 fairness. Only thus can the tribunal conducting a quasi-adjudicatory proceeding meet the basic

 requirement of due process.” American Cyanamid Company v. F.T.C, 363 F.2d 757, 767 (6th Cir.

 1966). Theres is no issue of material fact that the City's and Brennan’s failure to afford Grand a

 fair opportunity to be heard before depriving him of his constitutional rights constituted a denial

 of procedural due process. Accordingly, summary judgment against these Defendants must be

 entered under Count V of Grand’s Second Amended Complaint.

VIII.      THE CITY’S POLICIES AND BRENNAN’S CONDUCT VIOLATED GRAND’S
           EQUAL PROTECTION RIGHTS (COUNT VI).

           An individual’s right to equal protection is violated if he receives differential treatment as

 the result of intentional discrimination directed at a suspect class such as religion. Vill. of Arlington

 Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252, 265 (1977) (articulating several non-exhaustive

 evidentiary factors, including the background and events leading to the decision, departures from

 normal procedures, and statements by members of the decisionmaking body); Spurlock v. Fox, 716


                                                    26
   Case: 1:22-cv-01594-BMB Doc #: 81 Filed: 01/26/24 32 of 38. PageID #: 1359




F.3d 383, 397 (6th Cir. 2013). Discriminatory motivation can be imputed to governmental

decisionmakers if they were responsive to community animus against a protected group. City of

Cuyahoga Falls, Ohio v. Buckeye Cmty. Hope Found., 538 U.S. 188, 196 (2003); Get Back Up,

Inc. v. City of Detroit, 725 F.App'x 389, 392 (6th Cir. 2018) (holding that public discriminatory

comments made at a zoning board meeting are enough to show a prima facie case of

discrimination.); MX Group, Inc. v. City of Covington, 293 F.3d 326, 341-342 (6th Cir. 2002).

Courts often look to circumstantial evidence of discrimination because “overtly bigoted behavior

has become more unfashionable,” and “clever men may easily conceal their motivations.”

Robinson v. 12 Lofts Realty, Inc., 610 F.2d 1032, 1043 (1979). “[D]iscriminatory purpose which

characterizes violations of the Equal Protection Clause can sometimes be established by objective

evidence that is consistent with a decisionmaker's honest belief that his motive was entirely

benign.” Hernandez v. New York, 500 U.S. 352, 377 (1991) (Steven, J. dissenting). “A plaintiff

need not prove that a discriminatory purpose was the sole reason for the action, only that

discrimination was a motivating factor.” Wesley v. Collins, 791 F.2d 1255, 1262 (6th Cir. 1986).

       In addition to the glaring departures from normal procedures mentioned above, it is

undeniable that the record contains strong evidence that the City’s decision to shut down Grand’s

prayer gorup was at least partially motivated by the fact that Grand is Jewish. E.g., Ex. 2; Ex. 3;

Ex. 4, 69:2-7; Ex. 11; Ex. 12, 78:8-14; 92:1-11 (“I’ve had many friends that are Jewish that are

still my close friends that are amazing people, I think as a population.”); Ex. 16 (“I do not want

our neighborhood labeled as Jewish.”); Ex 19, at 2-4; Ex. 25, at 3-4. There is no genuine issue of

material fact as to whether the City and Brennan discriminated against Grand as a religious

minority in violation of his Fourteenth Amendment right to equal protection, and accordingly,

summary judgment should be granted as to those Defendants under Count VI.



                                                27
      Case: 1:22-cv-01594-BMB Doc #: 81 Filed: 01/26/24 33 of 38. PageID #: 1360




IX.      THE CITY’S POLICIES VIOLATED RLUIPA (COUNTS VIII, IX, X, AND XI)

         42 U.S.C. § 2000cc(a)(1) prohibits government from imposing a substantial burden on

religious exercise without a compelling governmental interest and in the least restrictive means.

“[I]f a plaintiff produces prima facie evidence to support a claim alleging a violation of the Free

Exercise Clause or a violation of section 2000cc…the government shall bear the burden of

persuasion on any element of the claim, except that the plaintiff shall bear the burden of persuasion

on whether the law…or government practice that is challenged by the claim substantially burdens

the plaintiff's exercise of religion.” Section 2000cc-2(b). A substantial burden is one that prevents

a plaintiff from engaging in desired religious behaviors, or places significant pressure on a plaintiff

to modify his behavior. LCS v. Genoa Charter Twp., 858 F.3d 996, 1004 (6th Cir. 2017). There is

no genuine issue of material fact that the City’s policies substantially burdened Grand’s exercise

of religion by placing significant pressure on Grand to modify his behavior.

         42 U.S.C. § 2000cc(b)(1) provides that “No government shall impose or implement a land

use regulation in a manner that treats a religious assembly or institution on less than equal terms

with a nonreligious assembly or institution.” UHCO 1274 violates this on its face. UHCO §

1250.02(b) allows buildings operated by a board of education, municipality, or library board as of

right in a residential zone (Ex. 33), but UHCO § 1274(b)(1) requires “houses of worship or

religious education, including churches, temples, synagogues, religious organizations, parish

houses and parochial schools” to obtain a SUP (Ex. 32). A secular board of education may operate

without a SUP, but if the building is sold to a religious organization that wants to teach religion,

the owners must apply for a SUP. The City approved a permit Grand to build a music room, but

when he decided to move out his drums and use the same room for a prayer gorup, he was required

to apply for a SUP. Ex. 4, 171:24-172:2.



                                                  28
      Case: 1:22-cv-01594-BMB Doc #: 81 Filed: 01/26/24 34 of 38. PageID #: 1361




         42 U.S.C. § 2000cc(b)(2) provides that “No government shall impose or implement a land

use regulation that discriminates against any assembly or institution on the basis of religion or

religious denomination.” Federal courts have applied the Equal Protection analysis developed in

Arlington Heights, 429 U.S. 252, to claims brought under RLUIPA’s Nondiscrimination provision.

See, e.g., Chabad Lubavitch of Litchfield Cty., Inc. v. Litchfield Historic Dist. Commission, 768

F.3d 183, 198 (2d Cir. 2014). For all of the reasons stated in the Equal Protection claim section

above, the City violated this provision.

         42 U.S.C. § 2000cc(b)(3)(B) provides “no government shall impose or implement a land

use regulation that … unreasonably limits religious assemblies, institutions, or structures within a

jurisdiction.” The prohibitions of UHCO § 1274(f) unreasonably limit religious assemblies within

the City. Section 1274(f)(1) prohibits religious assemblies in buildings that were not “originally

designed and approved for such use,” 1274(f)(2) prohibit the conversion a residence into a place

of religious assembly, 1274(f)(3) requires frontage on one of only six streets in the City, and

1274(f)(4) prohibits the inclusion of “sleeping or residential use on any part of the site” of a place

of religious assembly. Pursuant to Section 1274(f)(5), “No variance … may be granted without the

approval of the PC and the approval of Council, each following public hearings at which the

applicant demonstrates a clear benefit to the community and that denial will result in an

unnecessary hardship to the applicant.” Grand desired to change a music room into a prayer room

and was required to obtain not only a SUP, but also multiple variances, which necessitated not

one, but two public hearings, each with a very high standard to meet. These requirements, on their

face, unreasonably limit places of religious assembly in the City, and accordingly, Section 1274(f)

violates RLUIPA as a matter of law.

 X.      The City violated Ohio Code 149.43(C)(1)(b), by failing to promptly prepare and
         make available for inspection public records that Grand requested (Count XIV).

                                                 29
   Case: 1:22-cv-01594-BMB Doc #: 81 Filed: 01/26/24 35 of 38. PageID #: 1362




       On July 28, 2021, Grand sent a document to Kelly Thomas requesting documents about

him that were in the City’s possession. Ex. 34. On August 11, 2021, Grand emailed two counsel

persons about that request and inquired why it had not been acknowledged. Ex. 35. Also on that

day, Grand sent an email to Ms. Thomas doing the same. Ex. 36. On August 13, 2021, Thomas

responded that she would send an email to all associated parties related to fulfilling the request.

Ex. 37. On September 30, 2021, Grand followed up again. Ex. 38. On Grand followed up again on

June 22, 2022 (Ex. 39) and again on September 2, 2022 (Ex. 40). The City did not respond in any

way to the July 29, 2021 request to the City until after the lawsuit was filed on September 8, 2022.

                                      XI.     CONCLUSION

       For the foregoing reasons, summary judgment should be granted in favor of the Plaintiff

as to Counts I, II, III, V, VI, VIII, IX, X, XI, XII, and XIV against the Defendant City of University

Heights (the “City”) and as to Counts I, II, III, V, VI, and XII against the Defendant Michael

Brennan.

Dated: January 26, 2024                                       Respectfully submitted,

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                                                 30
   Case: 1:22-cv-01594-BMB Doc #: 81 Filed: 01/26/24 36 of 38. PageID #: 1363




                   XII.     CERTIFICATION OF PAGE LIMITATION

       I here by certify, pursuant to LCvR 7.1(f), that this case was assigned to the Complex Track

(see ECF No. 19) and that the foregoing memorandum adheres to the 30 page page limitation set

forth in LCvR 7.1(f) for complex cases.

                                       /s/ Jonathan Gross




                                               31
   Case: 1:22-cv-01594-BMB Doc #: 81 Filed: 01/26/24 37 of 38. PageID #: 1364




                             XIII.   INDEX OF EXHIBITS

EXHIBIT 1: Declaration of Daniel Grand

EXHIBIT 2: UNIVHTS001027 Grand email invitation, January 19, 2021

EXHIBIT 3: UNIVHTS001093 Ben Feldman facebook message, January 21, 2021

EXHIBIT 4: Deposition of Michael Brennan, October 31, 2023

EXHIBIT 5: UNIVHTS001331 Brennan email to McConville, January 21, 2021

EXHIBIT 6: McConville email to Grand with cease-and-desist letter, January 21, 2021

EXHIBIT 7: Grand email to Thomas, January 22, 2021

EXHIBIT 8: Grand SUP application, January 22, 2021

EXHIBIT 9: Notice of March 4 Planning Commission Meeting

EXHIBIT 10: Deposition of Kelly Thomas, December 6, 2021

EXHIBIT 11: Change.org Petition

EXHIBIT 12: Transcript of March 4, 2021 Planning Commission Meeting

EXHIBIT 13: Brennan email with map, February 22, 2021

EXHIBIT 14: color copy of map

EXHIBIT 15: UNIVHTS001180 premeeting deliberations email, March 4, 2021

EXHIBIT 16: Letter in opposition #1, February 16, 2021

EXHIBIT 17: UNIVHTS000032 Letter in opposition #2, February 22, 2021

EXHIBIT 18: UNIVHTS000035 Letter in opposition #3, March 3, 2021

EXHIBIT 19: UNIVHTS001377 Post meeting deliberations email, March 9, 2021

EXHIBIT 20: UNIVHTS000604 Grand Letter of Clarity, March 2, 2021

EXHIBIT 21: Police CAD system report, March 4, 2021

EXHIBIT 22: Siemborski email to McConville post meeting deliberation #1, March 4, 2021

EXHIBIT 23: Siemborski email to McConville post meeting deliberation #2, March 10, 2021
                                            32
   Case: 1:22-cv-01594-BMB Doc #: 81 Filed: 01/26/24 38 of 38. PageID #: 1365




EXHIBIT 24: Siemborski email to McConville post meeting deliberation #3, March 10, 2021

EXHIBIT 25: Brennan public statement with email re: antisemitism, March 12, 2021

EXHIBIT 26: UNIVHTS001470 Brennan public statement with opposition, March 12, 2021

EXHIBIT 27: Rosenfeld email to Grand, March 17, 2021

EXHIBIT 28: Police memorandum, March 22, 2021

EXHIBIT 29: Email to Police Uniform Division, March 23, 2021

EXHIBIT 30: UNIVHTS000838 Email from Police to Brennan, March 25, 2021

EXHIBIT 31: UNIVHTS000849 Scalise email, March 28, 2021

EXHIBIT 32: UHCO Chapter 1274

EXHIBIT 33: UHCO Chapter 1250

EXHIBIT 34: Email

EXHIBIT 35: Email

EXHIBIT 36: Email




                                            33
